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                                                  No.

                             IN THE UNITED STATES DISTRICT COURT

                            FOR THE NORTHERN DISTRICT OF INDIANA



                                      PATRICK S. BREWBAKER
                                                 AND
                                      SANDRA J. BREWBAKER,

                                            PLAINTIFFS

                                                   V.

                                UNITED STATES OF AMERICA,

                                            DEFENDANT



                                 COMPLAINT FOR DAMAGES


       Come now the Plaintiffs, Patrick S. Brewbaker, and Sandra J. Brewbaker, and for their

causes of action, state as follows:



                                        INTRODUCTION



   1. The causes of action herein arise under the Federal Tort Claims Act of 1948, 62

       Stat.982, 28 U.S.C. 2671 et seq, 28 U.S.C. 2401, 38 U.S.C. 7316 , and 28 U.S.C.

       1346(b), for recoverable damages proximately caused by acts of medical negligence

       (involving failure to diagnose Antiphospholipid Syndrome, timely treat it, and failure to
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   refer to appropriate specialist) of physicians, employees, agents, and representatives of

   the Department of Veterans Affairs-Northern Indiana Health Care System (DVA-

   NIHCS), who were (at all times material herein) acting as agents and employees of

   Defendant, the United States of America, within the course and scope of their

   employment and agency with Defendant, the United States of America. Paragraphs 2

   through 10 infra are provided as context for the introduction—not as factual assertions.



2. Antiphospholipid (AN-te-fos-fo-LIP-id) syndrome occurs when your immune system

   mistakenly creates antibodies that make your blood much more likely to clot. See

   https://www.mayoclinic.org/diseases-conditions/antiphospholipid-syndrome/symptoms-

   causes/syc-20355831.



3. Antiphospholipid syndrome (APS) describes a clinical autoimmune syndrome

   characterized by venous or arterial thrombosis and/or pregnancy morbidity in the presence

   of persistent laboratory evidence of antiphospholipid antibodies (APL). APS can occur as a

   primary condition or in the setting of systemic lupus erythematosus (SLE) or another

   systemic autoimmune disease. See       https://www.uptodate.com/contents/diagnosis-of-

   antiphospholipid-syndrome.



4. Signs and symptoms of antiphospholipid syndrome can include: Blood clots in your legs

   (DVT). Signs of a DVT include pain, swelling and redness. These clots can travel to your

   lungs (pulmonary embolism). Repeated miscarriages or stillbirths. Other complications of

   pregnancy include dangerously high blood pressure (preeclampsia) and premature delivery.
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   Stroke. A stroke can occur in a young person who has antiphospholipid syndrome but no

   known risk factors for cardiovascular diseases. Transient ischemic attack (TIA). Similar

   to a stroke, a TIA usually lasts only a few minutes and causes no permanent damage.

   Rash. Some people develop a red rash with a lacy, net-like pattern. Less common signs

   and symptoms include: Neurological symptoms. Chronic headaches, including migraines;

   dementia and seizures are possible when a blood clot blocks blood flow to parts of your

   brain. Cardiovascular disease. Antiphospholipid syndrome can damage heart valves.

   Bleeding. Some people have a decrease in blood cells needed for clotting. This can cause

   episodes of bleeding, particularly from your nose and gums. You can also bleed into your

   skin, which will appear as patches of small red spots. See

   https://www.mayoclinic.org/diseases-conditions/antiphospholipid-syndrome/symptoms-

   causes/syc-20355831.



5. Signs that a person may be developing a clot such as pain, redness, warmth, and swelling

   in the limbs; chest pain and shortness of breath; ongoing headaches; speech changes;

   upper body discomfort in the arms, back, neck, and jaw; nausea (See

   https://www.nhlbi.nih.gov/health-topics/antiphospholipid-antibody-syndrome)

   such as coughing up blood-streaked mucus (See

   https://www.healthline.com/health/blood-tinged-sputum#causes); and, problems with

   vision (See https://www.webmd.com/eye-health/retinal-vein-occlusion) are also

   important since clotting is a main manifestation of APS.



6. Standards were developed in 1998 called the “Sapporo Criteria.” These were revised in
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       2006 and are called the “Revised Sapporo Criteria” (or the “Sydney Criteria”). The

       Revised Sapporo Criteria are set forth here:

              Clinical criteria – One or more of the following is present:

              Vascular thrombosis – One or more episodes of venous, arterial, or small vessel
              thrombosis in any tissue or organ, with unequivocal imaging or histologic
              evidence of thrombosis. Superficial venous thrombosis does not satisfy the
              criteria for thrombosis for APS.

              Pregnancy morbidity – One or more unexplained deaths of a morphologically
              normal fetus at ≥10 weeks gestation, or one or more premature births of a
              morphologically normal neonate before 34 weeks gestation because of eclampsia,
              preeclampsia, or placental insufficiency, or three or more consecutive
              spontaneous pregnancy losses at <10 weeks gestation, unexplained by
              chromosomal abnormalities or by maternal anatomic or hormonal causes.

              Laboratory criteria – The presence of one or more of the following
              antiphospholipid antibodies (aPL) on two or more occasions at least 12 weeks
              apart:

              IgG and/or IgM anticardiolipin antibodies (aCL) in moderate or high titer (>40
              GPL or MPL units, respectively, or a titer >99th percentile for the testing
              laboratory), measured by a standardized enzyme-linked immunosorbent assay
              (ELISA).

              IgG and/or IgM anti-beta2-glycoprotein (GP) I >40 GPL or MPL units,
              respectively, or a titer >99th percentile for the testing laboratory, measured by a
              standardized ELISA according to recommended procedures.

              Lupus anticoagulant (LA) activity detected according to published guidelines.

Footnotes omitted. See https://www.uptodate.com/contents/diagnosis-of-antiphospholipid-
syndrome?topicRef=4667&source=related_link#H72934358.



   7. Differential diagnoses include: Disseminated intravascular coagulation; Infective

       endocarditis; Thrombotic thrombocytopenic purpura; Heparin-induced

       thrombocytopenia; Thrombotic microangiopathies; Inherited and acquired

       thrombophilias; Anatomical vascular obstruction; Paroxysmal nocturnal hemoglobinuria;
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      Myeloproliferative neoplasms. See https://emedicine.medscape.com/article/333221-

      differential. See https://www.uptodate.com/contents/clinical-manifestations-of-

      antiphospholipid-syndrome?topicRef=4678&source=see_link. See

      https://www.uptodate.com/contents/diagnosis-of-antiphospholipid-

      syndrome?topicRef=4667&source=related_link#H178994.



   8. Treatment of APS involves anticoagulation. See

      https://www.merckmanuals.com/professional/hematology-and-oncology/thrombotic-

      disorders/antiphospholipid-antibody-syndrome-aps and https://www.nhlbi.nih.gov/health-

      topics/antiphospholipid-antibody-syndrome



   9. Specialist consultations for the treatment for APS include the following:

              Rheumatologist; Hematologist;
              Neurologist, cardiologist, pulmonologist, hepatologist, ophthalmologist
              (depending on clinical presentation)
              Obstetrician with experience in high-risk pregnancies. See

https://www.medscape.com/answers/333221-43636/which-specialist-consultations-are-needed-
for-the-treatment-of-antiphospholipid-syndrome-
aps#:~:text=Consultations%20may%20include%20the%20following,ophthalmologist%20(depe
nding%20on%20clinical%20presentation)


   10. Estimates in the United States suggest that antiphospholipid antibody are associated with

      approximately 50,000 pregnancy losses, 110,000 strokes, 100,000 Myocardial

      Infarctions, and 30,000 Deep Vein Thromboses annually footnotes omitted. See

      https://www.uptodate.com/contents/clinical-manifestations-of-antiphospholipid-

      syndrome?topicRef=4678&source=see_link
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                                         PARTIES

11. Plaintiff Patrick S. Brewbaker is over the age of 18, a resident of Steuben County,

   Indiana, and a decorated United States Marine veteran.



12. Plaintiff Sandra J. Brewbaker is over the age of 18 and is a resident of Steuben County,

   Indiana.


13. At all times pertinent herein, Patrick S. Brewbaker and Sandra J. Brewbaker were, and

   are, husband and wife.


14. Defendant is the United States of America.




                                 JURISDICTION AND VENUE



15. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1346(b),

   as Plaintiff brings claims under the Federal Tort Claims Act 28 U.S.C. 2671 et seq, 28

   U.S.C. 2401, and 38 U.S.C. 7316.



16. Venue is proper in the Northern District of Indiana under 28 U.S.C. § 1402(b)

   because the Plaintiffs reside therein and because the events giving rise to their claims

   occurred in this judicial district.
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           COMPLIANCE WITH THE FEDERAL TORT CLAIMS ACT AND

           EXHAUSTION OF ADMINISTRATIVE REMEDIES BEFORE THE

                         DEPARTMENT OF VETERANS AFFAIRS



17. On September 9, 2019, within two years of the date of injury(ies) alleged, Plaintiff, Patrick

   S. Brewbaker timely filed with the Department of Veterans Affairs through delivery by Fed

   Ex a qualifying administrative tort claim on an executed Form 95 and accompanying

   exhibits related to the acts of medical negligence and to the proximately caused money

   damages in the specific amount of $1,000,000.00 as set forth therein and in this Complaint.

    See Exhibit A.



18. In a letter dated November 19, 2019, the Department of Veterans Affairs, Office of General

   Counsel, Tort Law Group, acknowledged that said administrative tort claim was received

   on September 10, 2019. See Exhibit B.


19. In a letter dated October 15, 2020, the Department of Veterans Affairs denied said

   administrative tort claim. See Exhibit C.


20. On September 9, 2019, Plaintiff, Sandra J. Brewbaker, within two years of the date of

   injuries alleged timely filed with the Department of Veterans Affairs through delivery by

   Fed Ex a qualifying administrative tort claim on an executed Form 95 and accompanying

   exhibits related to the acts of medical negligence and to the proximately caused money

   damages in the specific amount of $750,000.00 as set forth therein and in this Complaint.

   See Exhibit A.
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21. In a letter dated November 19, 2019, the Department of Veterans Affairs, Office of General

   Counsel, Tort Law Group, acknowledged that said administrative tort claim was received

   on September 10, 2019. See Exhibit B.


22. In a letter dated October 15, 2020, the Department of Veterans Affairs effectively denied

   said derivative administrative tort claim by virtue of denying the main claim. See Exhibit

   C.


23. In the denial notification, the Department of Veterans Affairs advised that if there were a

   disagreement with the denial, a suit in federal district court must be filed no later than six

   months after the date of mailing this notification.


24. Plaintiffs each have exhausted their administrative remedies and satisfied all conditions

   precedent for the filing of the suit before the District Court.


25. The instant suit is timely filed under the FTCA, 28 U.S.C. § 2401(b), as it is being filed

   within six months of the date of the mailing of the denial of the administrative tort claims.



                       DATE OF ALLEGED MALPRACTICE

26. The Plaintiffs allege that the acts of malpractice occurred on or September 10, 2017 and

   continued and was repeated through at least March 30, 2018.
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                                   STATEMENT OF FACTS



27.      On March 17, 2017, Plaintiff Patrick S. Brewbaker, underwent left arthroplasty. The

moment he left the operating room he noticed dyspnea. He was placed on oxygen. He was

discharged two days later.



28.      On August 3, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician, Jonathan

Alley M.D. assessed mild intermittent asthma with (acute) exacerbation.



29.      On August 17, 2017, Kenneth C. Schaab, M.D., at Department of Veterans Affairs-A

Northern Indiana Health Care System (DVA-NIHCS), examined and treated Plaintiff Patrick S.

Brewbaker in the DVA-NIHCS emergency room.



30.      Also, on August 17, 2017, Dr. Schaab noted the following patient history:

                Patient presents to the emergency department for evaluation of having 4-6
                weeks of runny nose, cough, and congestion with associated cough. The
                patient has been seen by his primary care physician dating back to the end
                of July, who recommended he continue using his albuterol metered-dose
                inhaler 2 puffs every 4-6 hours as needed. He has never been given an
                AeroChamber for use with this. He apparently has never been placed on a
                tapering dose of steroids during this period of time. He does not history
                of reactive airway disease. He also has a history of allergic rhinitis,
                and he states that he has used a Flonase nasal inhaler, as well as
                Claritin for this. This is prescribed outside of the VA through his
                primary care physician outside of the VA. He was placed on a seven-day
                course of Levaquin for his bronchitis, and he was to say this made
                absolutely no difference. He has not had a chest x-ray over the past 4-6
                weeks. He has not had any fevers or chills. He states the coughing has
                become persistent and paroxysmal. He has not been tested for pertussis. He
                is unsure of the status of his vaccinations. He is complaining of chest
                discomfort associated with coughing only. He has not been coughing up any
                bloody or discolor secretions. He has a nonsmoker. He denies having any
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                leg swelling or discomfort. He has been coughing throughout the evening.


       31.      On September 6, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician,

Dr. Alley assessed Severe Persistent Asthma uncomplicated, and Essential Primary

Hypertension.



       32.      On September 7, 2017, Plaintiff Patrick S. Brewbaker presented to the Cameron

Memorial Hospital emergency room with difficulty breathing. The ER physician diagnosed him

with Dyspnea unspecified type and referred him to pulmonology.



       33.      On September 8, 2017, a CT revealed no gross evidence of pulmonary embolism.



       34.      On September 8, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician,

Dr. Alley assessed Severe Persistent Asthma uncomplicated, and Essential Primary

Hypertension.


       35.      On September 10, 2017 at DVA-NIHCS, Dr. Schaab, and Elmer A. Toliver, M.D.

both employees of the Defendant United States of America both acting within the scope of their

employment treated Plaintiff Patrick S. Brewbaker.



       36.      Also, on September 10, 2017 at DVA-NIHCS, Kenneth C. Schaab, M.D., and

Elmer A. Toliver, M.D. failed to diagnose Antiphospholipid Syndrome (APS) by not ordering or

in not requiring the appropriate diagnostic imaging and/or testing to diagnose; including but not

limited to, an MRI, a CT, blood tests to identify APS antibodies, anticardiolipin, beta-2
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glycoprotein I (β2GPI), lupus anticoagulant, and other appropriate tests to diagnose APS.



       37.     Also, on September 10, 2017, Dr. Schaab and Dr. Toliver did not require,

pressure, or insist that Plaintiff Patrick S. Brewbaker’s October 25, 2017 DVA-NIHCS

pulmonary appointment be advanced on the calendar so that it could occur as soon after

September 10, 2017 as possible.



       38.     Also, on September 10, 2017, Dr. Schaab and Dr. Toliver did not recommend an

immediate hematological referral-the main type of specialist that treats APS (often in

conjunction with other specialists depending upon the physiological system primarily impacted

by APS clotting).




       39.     On September 12, 2017 at DVA-NIHCS, Dominick Acquaro, M.D. an employee

of the Defendant United States of America acting within the scope of his employment treated

Plaintiff Patrick S. Brewbaker.



       40.     Also, on September 12, 2017 at DVA-NIHCS, Dr. Acquaro failed to diagnose

Antiphospholipid Syndrome (APS) by not ordering or in not requiring the appropriate diagnostic

imaging and/or testing to diagnose; including but not limited to, an MRI, a CT, blood tests to

identify APS antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and

other appropriate tests to diagnose APS.
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       41.     Also, on September 12, 2017, Dr. Acquaro did not require, pressure, or insist that

Plaintiff Patrick S. Brewbaker’s October 25, 2017 DVA-NIHCS pulmonary appointment be

advanced on the calendar so that it could occur as soon after September 12, 2017 as possible.



       42.     Also, on September 12, 2017, Dr. Acquaro did not recommend an immediate

hematological referral.




       43. On September 12, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician, Dr.

Alley assessed Severe Persistent Asthma uncomplicated.



       44. On September 15, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician, Dr.

Alley assessed Severe Persistent Asthma uncomplicated, and Essential Primary Hypertension.




       45.     On September 16, 2017 at DVA-NIHCS, Kamleshkumar R. Patel, M.D. an

employee of the Defendant United States of America acting within the scope of his employment

treated Plaintiff Patrick S. Brewbaker.



       46.     On September 16, 2017, Dr. Patel failed to diagnose Antiphospholipid Syndrome

(APS) by not ordering or in not requiring the appropriate diagnostic imaging and/or testing to

diagnose; including but not limited to, an MRI, a CT, blood tests to identify APS antibodies,

anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and other appropriate tests to
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diagnose APS.



       47.      Also, on September 16, 2017, Dr. Patel did not require, pressure, or insist that

Plaintiff Patrick S. Brewbaker’s October 25, 2017 DVA-NIHCS pulmonary appointment be

advanced on the calendar so that it could occur as soon after September 16, 2017 as possible.



       48.      Also, on September 16, 2017, Dr. Acquaro did not recommend an immediate

hematological referral.




       49.      On September 18, 2017, a non-DVA pulmonologist, Thomandrum Sekar, M.D.,

reviewed Pulmonary Function testing results and assessed moderately severe obstructive airway

disorder with an element of reversibility, hyperinflation detected, total lung capacity and

diffusing capacity are adequate and normal, increased in airway resistance, correlate clinically.



       50.      On September 22, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician,

Dr. Alley assessed Chronic Obstructive Pulmonary Disease unspecified, Severe Persistent

Asthma uncomplicated, and Essential Primary Hypertension.




       51.      On September 25, 2017 DVA-NIHCS, Ryan C. Rolf, M.D. an employee of the

Defendant United States of America acting within the scope of his employment treated Plaintiff

Patrick S. Brewbaker.
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       52.     Also, on September 25, 2017, Dr. Rolf failed to diagnose Antiphospholipid

Syndrome (APS) by not ordering or in not requiring the appropriate diagnostic imaging and/or

testing to diagnose; including but not limited to, an MRI, a CT, blood tests to identify APS

antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and other

appropriate tests to diagnose APS.



       53.     Also, on September 25, 2017, Dr. Rolf did not require, pressure, or insist that

Plaintiff Patrick S. Brewbaker’s October 25, 2017 DVA-NIHCS pulmonary appointment be

advanced on the calendar so that it could occur as soon after September 25, 2017 as possible.



       54.     Also, on September 25, 2017, Dr. Rolf did not recommend an immediate

hematological referral.



       55.     On October 2, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician, Dr.

Alley assessed Chronic Obstructive Pulmonary Disease unspecified, Acute Recurrent Maxillary

Sinusitis, Cough, Essential Primary Hypertension, and Other Fatigue.



       56.     On October 5, 2017, Plaintiff Patrick S. Brewbaker underwent an exercise stress

test (Regadenoson Protocol) at DVA-NIHCS. The overall impression was an inconclusive

submaximal test.



       57.     On October 9, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician, Dr.
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Alley assessed Chronic Obstructive Pulmonary Disease unspecified Essential Primary

Hypertension, and Other Fatigue.



       58.     On October 16, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician, Dr.

Alley assessed Chronic Obstructive Pulmonary Disease unspecified, Mild Intermittent Asthma

with (Acute) Exacerbation, and Essential Primary Hypertension.




       59.     On October 19, 2017 at Department of Veterans Affairs-A Northern Indiana

Health Care System (DVA-NIHCS), Sharon R. May, M.D., an employee of the Defendant

United States of America acting within the scope of her employment treated Plaintiff Patrick S.

Brewbaker.



       60.     Also, on October 19, 2017, Dr. May failed to diagnose Antiphospholipid

Syndrome (APS) by not ordering or in not requiring the appropriate diagnostic imaging and/or

testing to diagnose; including but not limited to, an MRI, a CT, blood tests to identify APS

antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and other

appropriate tests to diagnose APS.



       61.     Also, on October 19, 2017, Dr. May did not require, pressure, or insist that

Plaintiff Patrick S. Brewbaker’s October 25, 2017 DVA-NIHCS pulmonary appointment be

advanced on the calendar so that it could occur as soon after October 19, 2017 as possible.
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       62.     Also, on October 19, 2017, Dr. May did not recommend an immediate

hematological referral.




       63.     On October 25, 2017 at Department of Veterans Affairs-Northern Indiana Health

Care System (DVA-NIHCS), Sharon R. May, M.D., an employee of the Defendant United States

of America acting within the scope of her employment treated Plaintiff Patrick S. Brewbaker.



       64.     Also, on October 25, 2017, Dr. May failed to diagnose Antiphospholipid

Syndrome (APS) by not ordering or in not requiring the appropriate diagnostic imaging and/or

testing to diagnose; including but not limited to, an MRI, a CT, blood tests to identify APS

antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and other

appropriate tests to diagnose APS.



       65.     Also, on October 25, 2017, Dr. May did not recommend an immediate

hematological referral.




       66.     On December 4, 2017 at DVA-NIHCS, Seema Apuri, M.D., an employee of the

Defendant United States of America acting within the scope of her employment treated Plaintiff

Patrick S. Brewbaker.
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       67.     Also, on December 4, 2017, Dr. Apuri failed to diagnose Antiphospholipid

Syndrome (APS) by not ordering or in not requiring the appropriate diagnostic imaging and/or

testing to diagnose; including but not limited to, an MRI, a CT, blood tests to identify APS

antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and other

appropriate tests to diagnose APS.



       68.     Also, on December 4, 2017, Dr. Apuri did not recommend an immediate

hematological referral.




       69.     On December 15, 2017, Plaintiff Patrick S. Brewbaker’s primary care physician,

Dr. Alley assessed Chronic Obstructive Pulmonary Disease unspecified, Severe Persistent

Asthma uncomplicated, Cough, and Essential Primary Hypertension.



       70.     On January 18, 2018, Dr. Alley again assessed Chronic Obstructive Pulmonary

Disease unspecified, Severe Persistent Asthma uncomplicated, Cough, Essential Primary

Hypertension, and Pain in Left Shoulder.



       71.     On January 29, 2018, Dr. Alley assessed flu, Chronic Obstructive Pulmonary

Disease, Acute Bronchitis due to other Specified Organisms, Cough, and Essential Hypertension.



       72.     On February 15, 2018, Plaintiff Patrick S. Brewbaker underwent occupational

therapy at DVA-NIHCS for his left shoulder.
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       73.     On March 8, 2018, Dr. Alley assessed Chronic Obstructive Pulmonary Disease,

Severe Persistent Asthma uncomplicated, Cough, and Essential Primary Hypertension.



       74. On March 10, 2018, Plaintiff Patrick S. Brewbaker presented to the DVA-NIHCS

emergency room with a reactive airway issue. ER physician recorded non-stop coughing and

shortness of breath. Plaintiff Sandra J. Brewbaker accompanied him. ER physician diagnosed.

ER physician assessed acute on chronic cough of unclear etiology administered several empiric

therapies and sent him home.



       75. On March 10, 2018, DVA-NIHCS emergency room physicians, employees of the

Defendant United States of America acting within the scope of her employment, failed to

diagnose Antiphospholipid Syndrome (APS) by not ordering or in not requiring the appropriate

diagnostic imaging and/or testing to diagnose; including but not limited to, an MRI, a CT, blood

tests to identify APS antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus

anticoagulant, and other appropriate tests to diagnose APS.



       76. On March 12, 2018, Plaintiff Patrick S. Brewbaker presented to the Cameron

Memorial Community Hospital emergency room with difficulty breathing. The ER physician

diagnosed bronchitis and referred him to his primary care physician, Dr. Alley.



       77. On March 13, 2018, Plaintiff Patrick S. Brewbaker presented to the DVA-NIHCS

emergency room with bilateral pulmonary embolism.
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       78. On March 13, 2018, multiple bilateral pulmonary emboli are identified on CT scan.



       79. DVA-NIHCS emergency room physicians, employees of the Defendant United States

of America acting within the scope of her employment, failed to diagnose Antiphospholipid

Syndrome (APS) by not ordering or in not requiring the appropriate diagnostic imaging and/or

testing to diagnose; including but not limited to, an MRI, a CT, blood tests to identify APS

antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus anticoagulant, and other

appropriate tests to diagnose APS.



       80. DVA-NIHCS transferred Plaintiff Patrick S. Brewbaker to Lutheran Hospital to

address pulmonary embolism where he was admitted on March 13, 2017. On March 17, 2017,

Lutheran Hospital discharged him. The discharge diagnoses were: 1. Chronic obstructive

pulmonary disease exacerbation. 2. Pulmonary embolism. 3. Hyperlipidemia. 4. Hypertension. 5.

Gastroesophageal reflux disease. 6. Morbid obesity. 7. Arthritis. 8. Myositis.



       81. On March 20, 2018, an anticoagulation consent note was made a part of the DVA-

NIHCS record.



       82. On March 22, 2018, Dr. Alley assessed Chronic Obstructive Pulmonary Disease

unspecified, Cough, Essential Hypertension, Impaired Fasting Glucose, Personal History of

Pulmonary Embolism, and Generalized Anxiety Disorder.
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       83. On March 22, 2018, Plaintiff Patrick S. Brewbaker presented to the walk-in lab at

Cameron Memorial Community Hospital and underwent several tests in relation to impaired fasting

glucose (Comprehensive Metabolic Panel, Complete Blood Count with Differential, and Urine

Protein). His hemoglobin A1c was in the high range at 8.5 and his estimated average glucose was

197 md/dl.



       84.     On March 26, 2018, Plaintiff Patrick S. Brewbaker presented to the DVA-NIHCS

emergency room for bilateral kidney pain. Emergency room physicians, employees of the

Defendant United States of America acting within the scope of her employment, failed to

diagnose Antiphospholipid Syndrome (APS) by not ordering or in not requiring the appropriate

diagnostic imaging and/or testing to diagnose; including but not limited to, an MRI, a CT, blood

tests to identify APS antibodies, anticardiolipin, beta-2 glycoprotein I (β2GPI), lupus

anticoagulant, and other appropriate tests to diagnose APS.




       85.     On March 28, 2018, Dr. May assesses pulmonary embolus.



       86.     On March 28, 2018, Dr. May notes in the DVA-NIHCS records that Plaintiff Patrick

S. Brewbaker’s mother had a clotting disorder.



       87.     On March 28, 2018, Plaintiff Patrick S. Brewbaker underwent an anti-coagulation

consult.
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       88.    On March 30, 2018, the DVA-NIHCS anticoagulation clinic and the anticoagulation

pharmacist in relation to pulmonary embolism was mentioned.



       89.    On April 7, 2018, Plaintiff Patrick S. Brewbaker presented to the Cameron Memorial

Community Hospital emergency room with Tachycardia. The ER physician diagnosed cardiac

Arrythmia unspecified, Dyspnea unspecified, Abdominal Wall Contusion initial encounter,

Secondary Hypertension, and Hypokalemia, and referred him to his primary care physician, Dr.

Alley and as needed to VA Cardiology.



       90. On April 8, 2018, Dr. Alley assessed Chronic Obstructive Pulmonary Disease

unspecified, Personal History of Pulmonary Embolism, Pain in Left Shoulder Essential Primary

Hypertension, Type 2 diabetes mellitus with hyperglycemia, and Other Fatigue



       91. On November 1, 2018, DVA-NIHCS records show a diagnosis of Antiphospholipid

Syndrome.
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                                            Count I
                                 Claim of Patrick S. Brewbaker

       92.     Plaintiff Patrick S. Brewbaker incorporates paragraphs 1 through 91 of this

Complaint.



       93.     Defendant had a duty to conform their medical treatment of Plaintiff Patrick S.

Brewbaker to the accepted standard of care, which is that degree of skill and learning possessed

and used by physicians in similar practice circumstances.



       94.     Defendant’s treatment of Plaintiff Patrick S. Brewbaker from September 10, 2017

through at least March 30, 2018 breached the standard of care.



       95.     Defendant’s failure to timely diagnose APS and treat it accordingly breached the

standard of medical care and ultimately led to the hospitalization for multiple pulmonary

embolisms that occurred in March of 2018.



       96.     Defendant’s failure to timely refer Plaintiff Patrick S. Brewbaker to hematologist

breached the standard of care.



       97.     As a direct and proximate result of Defendant’s breaches of the standard of care,

Plaintiff Patrick S. Brewbaker has incurred damages including medical harm from pulmonary

embolisms, fear of death from pulmonary embolisms, fear of death overtime from untreated lung

issues, medical expenses, pain and suffering, loss of ability to function as a whole person, loss of
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enjoyment of life, and mental anguish in the amount of One Million Dollars ($1,000,000.00).



       WHEREFORE, plaintiff Patrick S. Brewbaker seeks damages in the specific amount of

One Million Dollars ($1,000,000.00).



                                            Count II
                                       Loss of Consortium

       98.      Plaintiff Sandra J. Brewbaker incorporates by reference paragraphs 1 through 97 of

this Complaint.



       99.      At all relevant times, Plaintiff Sandra J. Brewbaker was/is married to Plaintiff Patrick

S. Brewbaker.



       100.     As a direct and proximate result of the breaches of the standard of care by Defendant,

Plaintiff Sandra J. Brewbaker has sustained a loss of consortium.



       101.     In addition, as a direct and proximate result of the breaches of the standard of care by

Defendant, Plaintiff Sandra J. Brewbaker, sustained great fear and emotional anguish that her

husband would suffer serious injury or death.



       102.     As a direct and proximate result of Defendant’s breaches of the standard of care,

Plaintiff Sandra J. Brewbaker has incurred damages including medical expenses, pain and suffering,

loss of ability to function as a whole person, loss of enjoyment of life, and mental anguish in the

amount of Seven Hundred and Fifty Thousand Dollars ($750,000.00).
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       WHEREFORE, Plaintiff Sandra J. Brewbaker seeks damages in the specific amount of

Seven Hundred and Fifty Thousand Dollars ($750,000.00).



                                                Respectfully submitted,



                                                /s/Randal S. Forbes
                                                __________________________________
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